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May 29 2020                                                                                     SEALED
                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA


   UNITED STATES OF AMERICA                               Civil Action No. 16-cv-15092
   ex rel. Robert Romero,
                                                          Section “L” (4)
                  Plaintiff,
                                                          Judge Fallon
                           v.
                                                          Magistrate Roby
   AECOM, XAVIER UNIVERSITY OF
   LOUISIANA, DILLARD UNIVERSITY, the
   ROMAN CATHOLIC CHURCH of the                           FILED EX PARTE AND UNDER SEAL
   ARCHDIOCESE OF NEW ORLEANS, and
   RANDALL KRAUSE,

                  Defendants.


               THE GOVERNMENT’S NOTICE OF ELECTION TO INTERVENE
                   IN PART AND TO DECLINE TO INTERVENE IN PART

          Pursuant to the False Claims Act (“FCA”), 31 U.S.C. § 3730(b)(2) and (4), the United

   States notifies the Court of its decision to intervene in part of this action and to decline to

   intervene in part of this action. Specifically, the United States (1) intervenes and intends to

   proceed with this action against Defendants AECOM and the Roman Catholic Church of the

   Archdiocese of New Orleans (“ANO”); (2) intervenes for the purpose of settlement against

   Defendant Xavier University of Louisiana (“Xavier”); and (3) declines intervention against

   Defendants Dillard University and Randall Krause. The United States respectfully requests sixty

   days, up to and including July 28, 2020, to file its Complaint in Intervention.

          With respect to Defendant Xavier, the United States and Relator have reached a

   settlement agreement with Xavier to resolve all claims pending against Xavier. In light of this

   agreement, and for the purpose of effectuating that resolution with Xavier, pursuant to the False

   Claims Act, 31 U.S.C. § 3730(b)(2) and (4), the United States respectfully advises the Court of
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its decision to intervene in part for purposes of settlement with Xavier. Specifically, the United

States intervenes for purposes of settlement with respect to the claims identified in Paragraph C

of the parties’ settlement agreement dated December 2, 2019 (“Settlement Agreement”).

Pursuant to the terms of the Settlement Agreement, the United States and Relator will file a

stipulation of dismissal as to Xavier only pursuant to Federal Rule of Civil Procedure 41(a).

       Although the United States is declining to intervene in portions of this action, it

respectfully refers the Court to 31 U.S.C. § 3730(b)(1). That provision allows the relator to

maintain the non-intervened portions of the action in the name of the United States, provided,

however, that those portions of the “action may be dismissed only if the court and the Attorney

General give written consent to the dismissal and their reasons for consenting.” Id. In

accordance with this provision, the United States respectfully requests that, should either the

relator or the defendants propose that those portions of the action in which the United States has

declined to intervene be dismissed, settled, or otherwise discontinued, the Court solicit the

written consent of the United States before ruling upon such request.

       Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States respectfully requests

that all pleadings filed in this action, including those pertaining to the non-intervened portions,

be served upon the United States. The United States similarly requests that all orders issued by

the Court be sent to government counsel as well.

       The United States respectfully reserves its right to order any deposition transcripts, and to

intervene, for good cause, at a later date in those non-intervened portions of this action. The

United States also respectfully reserves the right to seek the dismissal of the relator’s action or




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claim(s) on any appropriate ground(s) including under 31 U.S.C. §§ 3730(b)(5) and (e)(4). The

United States also requests that it be served with all notices of appeal.

       The United States requests that the Court unseal Relator’s Third Amended Complaint

(Dkt. No. 24); this Notice; and the attached proposed order. The United States requests that all

other papers on file in this action remain under seal because in discussing the content and extent

of the United States’ investigation, such papers are provided by law to the Court alone for the

sole purpose of evaluating whether the seal and time for making an election to intervene should

be extended.

       A proposed order accompanies this notice.



May 29, 2020                           Respectfully submitted,

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